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10                        UNITED STATES DISTRICT COURT
11                      CENTRAL DISTRICT OF CALIFORNIA
12
     ENTROPIC COMMUNICATIONS, LLC,              Case No.: 2:23-cv-01043-JWH-KES
13                                              (Lead Case)
                       Plaintiff,               Case No.: 2:23-cv-01047-JWH-KES
14
                                                (Related Case)
15         v.
                                                Case No.: 2:23-cv-01048-JWH-KES
16   DISH NETWORK CORPORATION, et               (Related Case)
     al.,                                       Case No.: 2:23-cv-05253-JWH-KES
17                                              (Related Case)
18                     Defendants.

19                                              [Assigned to the Honorable John W.
                                                Holcomb]
     ENTROPIC COMMUNICATIONS, LLC,
20
                                                PLAINTIFF ENTROPIC’S
21                     Plaintiff,               APPLICATION TO FILE
                                                DOCUMENTS UNDER SEAL
22         v.                                   REGARDING ENTROPIC’S
                                                OPPOSITION TO COMCAST’S
23                                              MOTION TO DISMISS THE
     COX COMMUNICATIONS, INC., et al.,          CORRECTED SECOND AMENDED
24                                              AND SUPPLEMENTAL
                       Defendants.              COMPLAINT; DECLARATION OF
25                                              RACHEL BERMAN; [PROPOSED]
                                                ORDER
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 1
     ENTROPIC COMMUNICATIONS, LLC,
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                      Plaintiff,
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 4
          v.

 5   COMCAST CORPORATION, et al.,
 6                    Defendants.
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 8
     ENTROPIC COMMUNICATIONS, LLC,
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                      Plaintiff,
10
          v.
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12   DIRECTV, LLC, et al.,
13                    Defendants.
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 1   TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2          Pursuant to Central District of California Local Rule 79-5.2.2(a), Plaintiff
 3   Entropic Communications, LLC (“Entropic” or “Plaintiff”) hereby applies for an order
 4   sealing unredacted information referenced in Entropic’s Opposition to Comcast’s
 5   Motion to Dismiss the Corrected Second Amended and Supplemental Complaint, which
 6   contains details related to a confidential third-party communication that has been filed
 7   under seal by Defendant Comcast.
 8          Each portion of the document referenced in the chart below has been filed under
 9   seal by Defendant Comcast. See Decl. of Rachel Berman in Support of Entropic’s
10   Application to File Documents Under Seal, ¶ 3. Entropic, therefore, applies to file such
11   documents and information under seal pursuant to Local Rule 79-5.2.2(a).
12          The information to be sealed is identified below:
13    Item to be Sealed Pursuant Description of Information
14    to L.R. 79-5.2.2(a)
15    Portions    of     Entropic’s Contents of a confidential third-party business
16    Opposition to Comcast’s communication which Comcast has previously filed
17    Motion       to       Dismiss under seal.
18    Corrected Second Amended
19    and              Supplemental
20    Complaint (“Opposition”) at
21    23:10-16.
22    Portions    of     Entropic’s Contents of a confidential third-party business
23    Opposition at 24:4.             communication which Comcast has previously filed
24                                    under seal.
25    Portions    of     Entropic’s Contents of a confidential third-party business
26    Opposition at 24:13.            communication which Comcast has previously filed
27                                    under seal.
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 1         Pursuant to Local Rule 79-5.2.2(a), Entropic applies to file under seal the
 2   documents listed above. Under Rule 79-5.2.2(a), a party may seek leave to file a
 3   document under seal so long as the Application describes the nature of the information
 4   that should be closed to public inspection and is accompanied by: (1) a declaration
 5   establishing good cause why the strong presumption of public access in civil cases
 6   should be overcome and informing the Court whether anyone opposes the Application;
 7   (2) a proposed order; (3) a redacted version of the relevant documents; and (4) an
 8   unredacted version of the relevant documents. Entropic has complied with these
 9   requirements. The information that Entropic seeks to seal is contained within a
10   confidential third-party business communication that Comcast sought to seal in relation
11   to its Motion to Dismiss. The public does not have an interest in accessing this
12   confidential information. Additionally, Entropic’s request is narrowly tailored to only
13   prevent the public from viewing confidential information. Finally, counsel for Comcast
14   indicated that it did not intend to oppose Entropic’s under seal filing. Berman Decl., ¶
15   6.
16         Therefore, compelling reasons exist to seal the highlighted portions of the above
17   documents. See Aya Healthcare Servs., Inc. v. AMN Healthcare, Inc., 2020 WL
18   1911502, at *5 (S.D. Cal. Apr. 20, 2020) (“The Court agrees that compelling reasons
19   exist to seal references . . . to Defendants’ proprietary business records that detail
20   sensitive financial terms, proprietary business strategies, and confidential negotiations
21   and agreements with third parties.”); In re Qualcomm Litig., 2019 WL 1557656, at *3
22   (S.D. Cal. Apr. 10, 2019) (granting motions to seal “confidential business information
23   of the parties, including trade secrets, proprietary business records, discussions of
24   internal strategy, company dealings, and materials designated as ‘Highly
25   Confidential’”).
26         Accordingly, Entropic respectfully requests that this Court order the unredacted
27   documents to be filed under seal. Concurrent with this filing, Entropic has filed redacted
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 1   versions of these documents with the Court, which only redact information necessary
 2   to protect confidential, private, and otherwise non-public information therein.
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 4   Dated: March 28, 2025                          Respectfully Submitted,
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 6                                                  By:                            _
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               APPLICATION TO FILE DOCUMENTS UNDER SEAL
